                       Case 1:16-cv-00084-JMC Document 2 Filed 01/11/16 Page 1 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                             District of Maryland


                  United States of America                              )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                             Civil Action No. 1:16-cv-00084-GLR
                                                                        )
                  VINCE AKINS,                                          )
                 NATALIE AMANI,                                         )
            COMPTROLLER OF MARYLAND                                     )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           VINCE AKINS
                                           11640 Whitetail Ln.
                                           Ellicott City, MD 21042




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           ANN E. NASH
                                           Trial Attorney
                                           U.S. Department of Justice
                                           Post Office Box 227
                                           Washington, DC 20044

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT

                                                                                    Felicia C. Cannon
Date: 1/11/16
                                                                                            Signature of Clerk or Deputy Clerk
Case 1:16-cv-00084-JMC Document 2 Filed 01/11/16 Page 2 of 6
                       Case 1:16-cv-00084-JMC Document 2 Filed 01/11/16 Page 3 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                             District of Maryland


                  United States of America                              )
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                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                v.
                                                                        )
                                                                               Civil Action No.   1:16-cv-00084-GLR
                                                                        )
                  VINCE AKINS,                                          )
                 NATALIE AMANI,                                         )
            COMPTROLLER OF MARYLAND                                     )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                                           NATALIE AMANI
                                           11640 Whitetail Ln.
                                           Ellicott City, MD 21042



          A lawsuit has been filed against you.

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whose name and address are:
                                           ANN E. NASH
                                           Trial Attorney
                                           U.S. Department of Justice
                                           Post Office Box 227
                                           Washington, DC 20044

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                                                                                  CLERK OF COURT

                                                                                    Felicia C. Cannon
Date: 1/11/16
                                                                                             Signature of Clerk or Deputy Clerk
Case 1:16-cv-00084-JMC Document 2 Filed 01/11/16 Page 4 of 6
                       Case 1:16-cv-00084-JMC Document 2 Filed 01/11/16 Page 5 of 6
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                            District of Maryland


                  United States of America                              )
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                            Plaintiff(s)                                )
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                                v.                                           Civil Action No. 1:16-cv-00084-GLR
                                                                        )
                  VINCE AKINS,                                          )
                 NATALIE AMANI,                                         )
            COMPTROLLER OF MARYLAND                                     )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                                           Comptroller of Maryland
                                           80 Calvert St.
                                           Annapolis, MD 21404-0466



          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           ANN E. NASH
                                           Trial Attorney
                                           U.S. Department of Justice
                                           Post Office Box 227
                                           Washington, DC 20044

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                               CLERK OF COURT

        1/11/16                                                                    Felicia C. Cannon
Date:
                                                                                          Signature of Clerk or Deputy Clerk
Case 1:16-cv-00084-JMC Document 2 Filed 01/11/16 Page 6 of 6
